      Case 20-11263-amc         Doc 93Filed 07/19/22 Entered 07/20/22 08:54:54           Desc Main
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                               UNITED STATES BANKRUTPCY COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       IN RE:                                     Chapter 13
       DAVID A JERRI



                             Debtor               Bankruptcy No. 20-11263-AMC



                                                  ORDER

          AND NOW, upon consideration of the Motion to Dismiss Case filed by Kenneth E. West, Standing

 Trustee, and after notice and hearing, it is hereby ORDERED that this case is DISMISSED and that any wage

 orders previously entered are VACATED.




  Date: July 19, 2022                 _________________________________
                                                  Honorable Ashely M. Chan
                                                   Bankruptcy Judge

Kenneth E. West, Trustee
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